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JAYNE KLEIN, Individually and as Personal   IN THE
Representative of the ESTATE OF
ANDREW P. KLEIN ■                           CIRCUIT COURT
107 West Jarrettsville Road
Forest Hill, Maryland 21050                 FOR

       And                                  HARFORD COUNTY

MARSHALL KLEIN, Individually and as
Personal Representative of the ESTATE OF
ANDREW P. KLEIN
1538 East Clement Street                    Case No:     C-12-CV-21-000006
Baltimore, Maryland 21230

       And

ANDREW R. SANDLER, Individually and as
Personal Representative of the ESTATE OF
ANDREW P. KLEIN
502 Washington Avenue, 8,h Floor
Towson, Maryland 21204

       And

SARAH KLEIN, Individually
109 West Jarrettsville Road
Forest Hill, Maryland 21050

and

RACHEL KLEIN, Individually,
2772 Lighthouse PT E, Unit 207
Baltimore, Maryland 21224

              Plaintiffs

V.


CARLOO EVERTON WATSON
7 Sheffield Court
North Brunswick, New Jersey 08902

       and
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 WAKEFERN FOOD CORP.
 5000 Riverside Drive
 Keasbey, New Jersey 08832

 SERVE:     CT Corporation System
            1200 South Pine Island Road
            Plantation, Florida 33324

        And

 WKF TRUCKING, LLC
 385 Milford Street
 Brooklyn, New York 11209

 SERVE: Carloo Everton Watson
        385 Milford Street, Apt. 2
        Brooklyn, NY 11209

                Defendants

                                        COMPLAINT

       Plaintiffs, Jayne Klein, Marshall Klein, and Andrew R. Sandler, Individually and as

Personal Representatives of the Estate of Andrew Klein, Sarah Klein, and Rachel Klein, by Paul

D. Bekman and Bekman, Marder & Adkins, L.L.C., hereby sue the Defendants, Carloo Everton

Watson, Wakefem Food Corp, and WKF Trucking, LLC, and state as follows:

                       THE PARTIES, JURISDICTION, AND VENUE

       1.     The Plaintiff, Jayne Klein, is a resident of Harford County, Maryland. Mrs. Klein

is the Personal Representative of the Estate of Mr. Andrew Klein, Deceased. Mrs. Klein was Mr.

Andrew Klein’s wife.

       2.     The Plaintiff, Marshall Klein, is a resident of Baltimore City, Maryland. Mr.

Marshall Klein is the Personal Representative of the Estate of Mr. Andrew Klein. Mr. Marshall

Klein was Mr. Andrew Klein’s son.
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          3.    Plaintiff, Andrew R. Sandler, is a resident of Baltimore County, Maryland.

Andrew R. Sandler is the Personal Representative of the Estate of Andrew P. Klein.

          4.    Plaintiff, Sarah Klein, is a resident of Harford County, Maryland. Sarah Klein is

the daughter of Decedent, Andrew P. Klein.

          5.    Plaintiff, Rachel Klein, is a resident of Baltimore City, Maryland. Rachel Klein is

the daughter of Decedent, Andrew P. Klein.

          6.    Defendant, Carloo Everton Watson, is a resident of North Brunswick, New

Jersey.

          7.    Defendant, Wakefem Food Corp, is a corporation which is incorporated in the

State of Florida and which does business in Maryland and New Jersey.

          8.    Defendant, WKF Trucking, LLC, is a limited liability company registered in New

York, and which does business in Maryland and New Jersey.

          9.    Plaintiffs’Decedent, Andrew Klein, died on March 11,2019 as a result of the

Defendants’ negligent acts, which occurred in Harford County, Maryland.

          10.   The amount of this claim exceeds Seventy-Five Thousand Dollars ($75,000.00).

          11.   Venue is proper in Harford County, Maryland.

                                             FACTS

          12.   At all times relevant herein. Defendant Watson was negligently operating a motor

vehicle owned by Defendants, Wakefem Food Corp, and WKF Trucking, LLC, and was acting

as their agent, servant, and/or employee.

          13.   On the morning of March 11,2019, Defendant Watson negligently and carelessly

operated a tractor trailer by talking on his hand-held cellphone, speeding, and weaving in and out

of traffic lanes on the highway.
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          14.   At approximately 7:00 a.m., Defendant Watson traveled southbound on MD-24 at

a high rate of speed, approaching the intersection of Ring Factory Road in Harford County,

Maryland.

          15.   At the same time and place, at least twelve motor vehicles, including the motor

vehicle Decedent, Mr. Klein, was a passenger in, were stopped at the traffic signal at Ring

Factory Road.

          16.   As Defendant Watson approached the traffic signal at Ring Factory Road, he lost

control of the tractor trailer he was operating, thereby causing a massive and violent motor

vehicle collision involving twelve motor vehicles, including the motor vehicle Mr. Klein was a

passenger in.

          17.   Asa result of the motor vehicle collision, the motor vehicle in which Mr. Klein

was a passenger in was pinned between the right rear of the tractor and the right front of the

trailer, thereby severely crushing Mr. Klein and causing the motor vehicle to catch fire and

substantially bum after the collision, such that Mr. Klein was not visually identifiable.

          18.   Asa direct and proximate result of the aforesaid negligence of Defendant Watson,

Decedent, Andrew Klein, suffered multiple severe and fatal injuries, including fractures of his rib

and his sternum, causing internal bleeding; bilateral fracture dislocation of his hip joints; pain

and suffering; extreme emotional and mental anguish; and pre-impact fright.

                                             COUNTI

                                         (Survival Claim)

          19.   Plaintiffs adopt and incorporate Paragraphs 1 through 18 as if fully set forth

herein.
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       20.     At all times relevant herein, Defendant Watson, owed a duty to Decedent, Mr.

Klein, to exercise due care and caution to avoid motor vehicle collisions.

       21.     Defendant Mr. Watson egregiously breached the duty of care owed to Decedent,

Mr. Klein, by negligently operating his motor vehicle, including by talking on his hand-held

cellphone, weaving through traffic lanes on the highway, and unreasonably speeding, thereby

unlawfully causing a motor vehicle collision involving twelve motor vehicles, including that of

Decedent, Mr. Klein.

       22.     The aforesaid occurrence was caused by the negligence, carelessness, and

recklessness of the Defendant, Carloo Watson, as the agent, servant, and/or employee of the

Defendants, Wakefem Food Corp, and WKF Trucking, LLC, in that he:

               a. failed to maintain proper control over file vehicle he was operating;

               b. failed to avoid a collision;

               c. failed to keep a proper lookout;

               d. failed to operate his vehicle at a speed reasonable and prudent under the

                    circumstances then and there existing;

               e. failed to observe the presence and proximity of the vehicle driven by the

                    Plaintiff;

               f. failed to carefully and prudently apply his brakes so as to avoid a collision;

               g. failed to obey the traffic signals;

               h. failed to obey Maryland law regarding hand-held cellphone use during the

                    operation of a motor vehicle; and

               i.   was otherwise careless, reckless, and negligent.
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          23.   As a direct and proximate result of Defendant Watson’s breach of his duty, Mr.

Klein suffered multiple painful and fatal injuries, pre-impact fright, pain and suffering, and,

ultimately, death.

          WHEREFORE, Plaintiffs, Jayne Klein, Marshall Klein, and Andrew R. Sandler, as

Personal Representatives of the Estate of Decedent, Andrew P. Klein, claim damages against the

Defendants, Wakefem Food Corp, and WKF Trucking, LLC, in an amount exceeding the

jurisdictional limit of seventy-five thousand dollars ($75,000.00) to be determined by a jury.

                                            COUNTn

                             (Wrongful Death Claim - Jayne Klein)

          24.   Plaintiffs adopt and incorporate Paragraphs 1 through 23 as if fully set forth

herein.

          25.   Asa result of Defendant Watson’s negligence and the wrongful death of Andrew

Klein, Plaintiff, Jayne Klein suffered severe mental anguish, emotional pain and suffering,

pecuniary loss, and has been deprived of society, companionship, comfort, protection, marital

care, attention, advice, counsel, and support, that Andrew rendered while alive, and could have,

and would have, continued to afford and render had he continued to live.

          26.   By reasons of Defendant’s negligence causing the death of Mr. Andrew Klein, a

cause of action has accrued in accordance with the Wrongful Death Act of the State of Maryland,

Md. Code, Cts. & Jud. Pro. § 3-901, et. seq., for compensation to Jayne Klein, the surviving wife

of Andrew for all the damages, injuries and losses sustained as a result of the wrongful death of

her husband.

          WHEREFORE, Plaintiff Jayne Klein claims damages against the Defendants, Wakefem

Food Corp, and WKF Trucking, LLC, in an amount exceeding $75,000.00 to be determined by a
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jury, with all costs to be paid by the Defendants.

                                            COUNT HI

                           (Wrongful Death Claim - Marshall Klein)

          27.   Plaintiffs adopt and incorporate Paragraphs 1 through 26 as if fully set forth

herein.

          28.   Asa result of Defendant Watson’s negligence and the wrongful death of Andrew

Klein, Plaintiff, Marshall Klein suffered severe mental anguish, emotional pain and suffering,

pecuniary loss, and has been deprived of society, companionship, comfort, parental care,

attention, advice, counsel, training, guidance, and education that Andrew rendered while alive,

and could have, and would have, continued to afford and render had he continued to live.

          29.   By reasons of Defendants’ negligence causing the death of Andrew Klein, a cause

of action has accrued in accordance with the Wrongful Death Act of the State of Maryland, Md.

Code, Cts. & Jud. Pro. § 3-901, et. seq., for compensation to Marshall Klein, a surviving son of

Andrew, for all the damages, injuries and losses sustained as a result of the wrongful death of his

father.

          WHEREFORE, Plaintiff Marshall Klein claims damages against the Defendants,

Wakefem Food Corp, and WKF Trucking, LLC, in an amount exceeding $75,000.00 to be

determined by a jury, with all costs to be paid by the Defendants.

                                            COUNT IV

                             (Wrongful Death Claim - Sarah Klein)

          30.   The Plaintiff, Sarah Klein, adopts and incorporates all the allegations contained in

paragraphs 1 through 29 as though set at length herein.
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          31.   Asa result of Defendant Watson’s negligence and the wrongfill death of Andrew

Klein, Plaintiff, Sarah Klein suffered severe mental anguish, emotional pain and suffering,

pecuniary loss, and has been deprived of society, companionship, comfort, parental care,

attention, advice, counsel,' training, guidance, and education that Andrew rendered while alive,

and could have, and would have, continued to afford and render had he continued to live.

          32.   By reasons of Defendants* negligence causing the death of Andrew Klein, a cause

of action has accrued in accordance with the Wrongful Death Act of the State of Maryland, Md.

Code, Cts. & Jud. Pro. .§ 3-901, et. seq., for compensation to Sarah Klein, a surviving daughter of

Andrew, for all the damages, injuries and losses sustained as a result of the wrongful death of her

father.

          WHEREFORE, Plaintiff, Sarah Klein, claims damages against the Defendants, Wakefem

Food Corp, and WKF Trucking, LLC, in an amount exceeding $75,000.00 to be determined by a

jury, with all costs to be paid by the Defendants.

                                            COUNTY

                            (Wrongful Death Claim - Rachel Klein)

          33.   The Plaintiff, Rachel Klein, adopts and incorporates all the allegations contained

in paragraphs 1 through 32 as though set at length herein.

          34.   As a result of Defendant Watson’s negligence and the wrongful death of Andrew

Klein, Plaintiff Rachel Klein suffered severe mental anguish, emotional pain and suffering,

pecuniary loss, and has been deprived of society, companionship, comfort, parental care,

attention, advice, counsel, training, guidance, and education that Andrew rendered while alive,

and could have, and would have, continued to afford and render had he continued to live.
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          35.    By reasons of Defendant’s negligence causing the death of Andrew Klein, a cause

of action has accrued in accordance with the Wrongful Death Act of the State of Maryland, Md.

Code, Cts. & Jud. Pro. § 3-901, et. seq., for compensation to Rachel Klein, a surviving daughter

of Andrew, for all the damages, injuries and losses sustained as a result of the wrongful death of

her father.

          WHEREFORE, Plaintiff Rachel Klein claims damages against the Defendants, Wakefem

Food Corp, and WKF Trucking, LLC, in an amount exceeding $75,000.00 to be determined by a

jury, with all costs to be paid by the Defendants.

                                             COUNT VI

                        (Wakefern Food Corp, and WKF Trucking, LLC)

          36.    Plaintiffs adopt and incorporate Paragraphs 1 through 35 as if fully set forth

herein.

          37.    Plaintiffs are suing Defendant Watson, who was acting as an agent, servant,

and/or employee of Wakefem Food Corp, while operating a motor vehicle owned by Wakefem

Food Corp, and/or WKF Trucking, LLC.

          3 8.   Defendant, Wakefem Food Corp., is a corporation created and existing under the

laws of the State of Florida, with its principal place of business in New Jersey. Wakefem

regularly conducts business in multiple states, including in the State of Maryland.

          39.    Defendant, WKF Trucking, LLC, is a limited liability company created and

existing under the laws of the State of New York, with its principal place of business in New

Jersey. WKF Trucking, LLC regularly conducts business in multiple states, including in the State

of Maryland.
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       40.     Wakefem and WKF Trucking, LLC routinely buy, warehouse, merchandise,

market, and transport products to individuals and entities from Maryland and maintains ongoing

business relationships with a variety of member companies located in Maryland. Wakefem’s and

WKF Trucking, LLC’s regularly conducted business within Maryland started well before the

facts of this case and will continue for the foreseeable future.

       41.     Venue is proper in the Circuit Court for Harford County pursuant to § 6-201 of

the Courts and Judicial Proceedings Article of Maryland’s Annotated Code. Wakefem and WKF

Trucking, LLC regularly carry on business in Harford County.

       42.     On March 11,2019, Defendant Watson was acting as an agent, servant, and/or

employee of Wakefem Food Corp, and WKF Trucking, LLC and was operating a tractor trailer

owned by Wakefem Food Corp, and/or WKF Trucking, LLC, when he negligently and

recklessly caused a massive, violent motor vehicle collision involving twelve motor vehicles.

       43.     Asa direct and proximate result of the aforesaid negligence of Defendant Watson,

Andrew Klein suffered multiple fatal injuries.

       44.     Defendants, Wakefem and WKF Trucking, LLC, as the employer of Defendant

Watson, were at all relevant times herein ultimately responsible and liable for all actions

committed by employee, agent, and/or servant Defendant Watson within the scope of his

employment.

       45.     As the employer of Defendant Watson, Defendants, Wakefem and WKF

Trucking, LLC, owed a duty of care to Andrew Klein to reasonably hire, train, and supervise the

drivers within its employment.

       46.     Defendants, Wakefem and WKF Trucking, LLC, breached their duty of care by

employing and retaining Defendant Watson with knowledge of Defendant Watson’s driving
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violations, including the following violations in New Jersey, Maryland, and Virginia: using a

cellphone while driving, failing to observe traffic control device, following too closely, failing to

obey lane direction for vehicles over five-tons, operating a moving vehicle with a flat tire, and

speeding.

          47.   Asa direct and proximate result of the aforesaid negligence of Defendants

Wakefem and WKF Trucking, LLC, Andrew Klein suffered multiple fatal injuries and the

Plaintiffs suffered injuries and damages thereby.

          WHEREFORE, the Plaintiffs claim damages in an amount exceeding $75,000.00 against

the Defendants Wakefem Food Corp, and WKF Trucking, LLC, to be determined by this

Honorable Court as a matter of law, with all interest and costs to be paid by the Defendants.

                                             COUNT VII

                                          (Punitive Damages)

          48.   Plaintiffs adopt and fully incorporate paragraphs 1 through 47 as if fully set

herein.

          49.   Defendant Watson acted egregiously and with wanton misconduct in operating

the tractor trailer with conscious disregard of the consequences of his reckless driving.

          50.   Defendants, Wakefem and WKF Trucking, LLC, acted egregiously and with

wanton misconduct in hiring Defendant Watson and retaining Defendant Watson as a driver with

the knowledge of Defendant Watson’s negligent and reckless driving history and the various

traffic violations he thereby incurred.

          51.   All Defendants knowingly and deliberately committed wrongdoing and, in doing

so, proximately caused severe injuries and damages to the Plaintiffs and the Plaintiffs* Decedent,

Andrew Klein.
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       WHEREFORE, the Plaintiffs claim punitive damages in the amount of $20,000,000.00

against the Defendants, Wakefem Food Corp, and WKF Trucking, LLC, with all interest and

costs paid for by the Defendants.




                                         PAUL D. BEKMAN, CPF # 7201010013
                                         BEKMAN, MARDER & ADKINS, L.L.C
                                         300 West Pratt Street, Suite 450
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                                         bekman@bmalawfinn.com
                                         Attorneys for Plaintiffs
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 JAYNE KLEIN, et al.                               IN THE

                Plaintiffs                         CIRCUIT COURT

 V.                                                FOR

 CARLOO WATSON, et al.                             HARFORD COUNTY

                Defendants                         Case No:           C-12-CV-21 -000006



                                ELECTION FOR JURY TRIAL

MR. CLERK:

       The Plaintiffs elects to have their cas&4jied before a jury.

                                                * ttCCg
                                              PAUL D. BEKMAN, CPF # 7201010013
                                              BEKMAN, MARDER & ADKINS, L.L.C
                                              300 West Pratt Street, Suite 450
                                              Baltimore, Maryland 21201
                                              (410) 539-6633
                                              bekman@bmala,wfirm.com
                                              Attorneys for Plaintiffs



                              CERTIFICATE OF REDACTION

       I HEREBY CERTIFY that the Complaint and Election for Jury Trial, pursuant to

Maryland Rules 2-432 and 2-433, and Md. Code §4-309 of the Health General Article, do not

contain any restricted information.


                                              PAUL D. BEKMAN, CPF # 7201010013
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